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 4   Telephone: (559) 497-4000

 5
                 IN THE UNITED STATES DISTRICT COURT FOR THE
 6
                         EASTERN DISTRICT OF CALIFORNIA
 7

 8
     UNITED STATES OF AMERICA,          )       1:11-CR-092 LJO
 9                                      )
                    Plaintiff,          )
10                                      )
          v.                            )
11                                      )       STIPULATION AND ORDER
     ADRIAN ROSALES-FUENTES, et al.,    )
12                                      )          (note new time)
                                        )
13                  Defendant.          )
     ___________________________________)
14
          Defendant ADRIAN ROSALES-FUENTES, by and through his
15
     attorney, GARY HUSS, Defendant JOSE ROSAS-FIGUEROA, by and through
16
     his attorney, KATHERINE HART, and the United States of America, by
17
     and through its attorneys, BENJAMIN B. WAGNER, United States
18
     Attorney, and KAREN A. ESCOBAR, Assistant United States Attorney,
19
     hereby enter into the following stipulation:
20
          1.   The parties agree to continue the trial confirmation in
21
     this matter from January 17, 2012, to February 13, 2012, at 1 p.m.
22
     The parties further agree that this date will also be the date for
23
     consideration of any filed motions in limine.         This continuance is
24
     necessitated by the fact that the Ninth Circuit recently set oral
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     argument on January 17 in United States v. Dhaliwal, a case being
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     handled by counsel for the government.
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          2.   The parties further agree that the filing of motions in
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 1   limine in this matter will be reset for January 30, 2012, and the

 2   filing of any responses will now be due February 6, 2012.          The

 3   parties agree that, when the Court continued the trial date at the

 4   request of counsel for Defendant ROSAS-FIGUEROA, the motion in

 5   limine schedule was not also, but should have been, modified.

 6   DATED: December 6, 2011                       Respectfully submitted,

 7                                                 BENJAMIN B. WAGNER
                                                   United States Attorney
 8
                                                   By: /s/ Karen A. Escobar
 9                                                   KAREN A. ESCOBAR
                                                   Assistant U.S. Attorney
10

11                                                  /s/ Gary Huss
                                                    GARY HUSS
12                                                  Attorney for Defendant
                                                    ADRIAN ROSALES-FUENTES
13

14                                                  /s/ Katherine Hart
                                                    KATHERINE HART
15                                                  Attorney for Defendant
                                                    JOSE ROSAS-FIGUEROA
16
                                      O R D E R
17
              Having read and considered the foregoing stipulation,
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              IT IS THE ORDER of the Court that trial confirmation in the
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     above-captioned matter shall be continued from January 17, 2012,
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     to February 13, 2012,at 11:30 a.m. and, at that time, the Court
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     will also consider any motions in limine.
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              IT IS FURTHER THE ORDER of the Court that any in limine
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     motions shall be filed on or before January 30, 2012, and any
24
     responses thereto shall be filed on or before February 6, 2012.
25
                         IT IS SO ORDERED.
26
     Dated:     December 7, 2011             /s/ Lawrence J. O'Neill
27   b9ed48                              UNITED STATES DISTRICT JUDGE

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